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Subscribed and sworn to by Telephone.




                      Houston, TX                 Hon. Yvonne Y. Ho, U.S. Magistrate Judge
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